        UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
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In re:                                                         : Chapter 11
         United States of America Rugby Football :               Case No. 20-10738 (BLS)
         Union, Ltd.,                                          :
                  Debtor.                                      :
EIN: XX-XXXXXXX                                                :
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  DECLARATION OF ROSS YOUNG IN SUPPORT OF CONFIRMATION OF THE
FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF UNITED STATES
      OF AMERICA RUGBY FOOTBALL UNION, LTD., AND RESPONSE TO
                   OBJECTIONS TO CONFIRMATION


       1.      I submit this declaration (the “Declaration”) in support of confirmation of the First

Amended Chapter 11 Plan of Reorganization of United States of America Rugby Football Union,

Ltd., (together with all schedules and exhibits thereto, and as may be modified, amended or

supplemented from time to time, the “Plan”).1 (Docket No. 186).

       2.      I am the Debtor’s chief executive officer and I understand the Debtor’s financial

and governance structure. I have been directly involved in the development of the Plan, including

its terms and the associated financial projections.

       3.      I am authorized to submit this Declaration on behalf of the Debtor. Except as

otherwise indicated, all facts set forth herein are based upon my personal knowledge or the

personal knowledge of employees who report to me, my review of relevant documents,

information provided to me by the Debtor’s management or legal advisors, or my opinion based

upon my familiarity with the Debtor’s business, operations, and financial condition. If I were called

upon to testify, I could and would testify competently as to the facts set forth herein.




1
 Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to
such terms in the Plan.
                                           Background

       4.      On March 31, 2020 (the “Petition Date”), as a result of the COVID-19 crisis, the

Debtor commenced its voluntary case under chapter 11 of the Bankruptcy Code. The Debtor

continues to operate as a debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.

                                             Overview

       5.      Rugby union, widely known simply as rugby, is a contact team sport that originated

in England in the first half of the 19th century. One of the two codes of rugby football, it is based

on running with the ball in hand. In its most common form, a game is played between two teams

of 15 players using an oval-shaped ball on a rectangular field with H-shaped goalposts at both

ends. There is also a variant known as 7’s rugby, which is played by seven rather than 15 players

per team.

       6.      Internationally popular, Rugby is played by more than 6 million people worldwide,

of whom 2.36 million were registered players as of July 1, 2020. International matches have taken

place since 1871, when the first game was played between Scotland and England at Raeburn Place

in Edinburgh. The Rugby World Cup ( “World Cup”), first held in 1987, is contested every four

years. This event occurred most recently in 2019 for the 15’s teams, and in 2018 for the 7’s teams.

       7.      The World Rugby Sevens Series (“Sevens Series”) is an annual series of

international rugby 7’s tournaments run by the World Rugby Limited (“World Rugby”). These

tournaments feature national 7’s teams playing in 10 tournaments that generally begin in

November and last until May. The venues are the United Arab Emirates, South Africa, Australia,

New Zealand, the United States, Canada, Hong Kong, Singapore, France and England.
       8.      World Rugby has been the governing body for rugby union since 1886, and

currently has 105 countries as full members and 22 countries as associate members. Founded in

1975, the Debtor is the national governing body for the sport of rugby in the United States of

America, a Full Sport Member of the United States Olympic and Paralympic Committee, and

World Rugby. It oversees four national teams, multiple collegiate and high school All-American

sides, and an emerging Olympic development pathway for elite athletes. Currently headquartered

in Colorado, the Debtor is charged with developing the game on all levels and has more than

120,000 active members.

       9.      The Debtor enforces World Rugby’s rules in U.S. tournaments. It also organizes

these tournaments and fields the U.S. national teams that participate in the international

competitions highlighted above, as well as other international matches. When organizing rugby

games, the Debtor provides services such as training, education, certification and insurance

coverage for the participants and organizers. Specifically, it provides liability insurance for every

member and optional “Member Accident” insurance that insures against injuries in the course of

play; this liability insurance is required by venues hosting rugby events.

                                  Events Precipitating the Filing

       10.      In 2018, the Debtor hosted the World Cup 7’s Championship in San Francisco. A

series of cost-overruns and revenue shortfalls left the Debtor unable to afford to fund the event or

to finance continued preparations. The Debtor contacted World Rugby, which after a series of

negotiations, provided $4.4 million in unsecured loan financing to the USAR in an effort to shore

up USAR’s (and therefore the Championship’s) finances. These events resulted in changes to the

Debtor’s management and board composition.
         11.   Simultaneously, the Debtor faced a $40 million breach of contract suit initiated by

United World Sports, LLC (“UWS”). In 2005, UWS claimed to have purchased the rights to host

the U.S. portion of the Sevens Series tournament described above. UWS claims it invested in these

tournaments and that, but for its efforts, the growth of rugby would have stalled nationwide. When

the tournament became successful, UWS claimed that World Rugby undermined this grant and

that the Debtor conspired in World Rugby’s alleged efforts. The Debtor and World Rugby

contested these claims, and the Debtor believed that it had valid contractual counter-claims. The

suit cost the Debtor in excess of $480,000.00 prepetition.

         12.   As this breach of contract suit progressed over the summer of 2019, the Debtor

incurred substantial shortfalls associated with the Men’s 15’s preparation for their World Cup

event.     Specifically, the Men’s team exceeded their $2.1 million budget by an estimated

$750,000.00.    At the same time, revenues from donations fell short of expectations by

approximately 50%.

         13.   As a consequence of the UWS suit, the cost overruns, and the declined

philanthropy, the Debtor verged on insolvency. To remedy the situation, the board initiated

discussions with World Rugby, which provided a $1 million loan to USAR to allow USAR to

continue operations.

         14.   At the same time, the Debtor undertook major cost-cutting measures including

credit line freezes, layoffs, and reduced corporate travel. Assuming the projections in place on

February 1, 2020, had held, the Debtor would have been able to operate until May 2020. The plan

was to seek recapitalization at May’s World Rugby Executive Committee meeting.

         15.   The COVID-19 outbreak frustrated this plan. USA Rugby suspended sanctioned

competition and rugby activities for a 30-day period on March 13 and indefinitely on March 20,
2020. As a result of this suspension, the dues revenue previously forecast failed to materialize and

the May solvency timeline shortened to March. Consequentially, the Debtor was unable to operate

long enough to secure relief at the meeting.

                                    The Bankruptcy Process

       16.     Since filing on March 31, 2020, the Debtor has secured debtor-in-possession

financing from World Rugby on favorable negotiated arm’s length terms. (Docket No. 89.) It also

obtained judicial approval for certain pre-petition insurance and vendor payments that allowed the

Debtor to preserve its enterprise value during the pendency of this Chapter 11 Case, and then

extracted six-figure concessions from those same insurers at a great benefit to the Debtor and its

Estate. (Docket No. 48, 84, 121.) The Debtor also settled the $40 million UWS claim for

$200,000.00 and accessed PPP funding.

       17.     Internally, the Debtor reconsidered all of its operations, overhauling its corporate

structure to streamline its decision-making process and updating its accounting systems. The

Debtor terminated its office lease and relocated, reducing its overhead, and it rejected other

contracts that were no longer in the Debtor’s interest after an extensive board-level review.

(Docket No. 155.)

       18.     Finally, it formulated the Plan subject to confirmation.

                                 General Overview of the Plan

       19.     The Plan provides for the Debtor to retain its assets and reorganize under subchapter

V of Chapter 11 of the United States Bankruptcy Code.

       20.     It provides for its secured creditor, covering the principal but at a dramatically

reduced interest rate (from 15.19% to 2.59%), and secures the eventual lien release upon payment

of the amount due per the Plan. This treatment has been consented to by the lender.
       21.     The Plan does not provide for a distribution to unsecured creditors, generally, but

does provide for reimbursement to certain families who purchased Olympic tickets that the Debtor

could not provide. It also provides for certain payments to summer help. We believe that these

payments are important to make as the failure to do so would create substantial ill-will within the

ranks of our membership.

       22.     The plan initially filed on July 17, 2020, was amended on August 27, 2020 by the

Plan. The amendment was necessitated by JPMorgan Chase Bank NA’s request that the treatment

of the Paycheck Protection Plan loan be clarified to reflect that the loan’s repayment is governed

by the note in keeping with the requirements and benefits of the PPP. It does not result in any

change in distribution.

       23.     It is my belief that the Plan satisfies all applicable legal requirements for

confirmation. I adopt the factual statements set forth in the Memorandum of Law in Support of

Confirmation of the First Amended Chapter 11 Plan of Reorganization of United States of America

Rugby Football Union, Ltd., and Response to Objections to Confirmation filed contemporaneously

herewith and state that the Plan represents a feasible means of reorganization.

                                    The Plan Formulation Process

       24.     In making this feasibility assessment, the Debtor relied on its forecasted revenues

and costs. I oversaw this forecasting process in consultation with a committee comprised of the

Debtor’s Chief Financial Officer, comptroller, financial resources manager, and its directors of

events, human resources and membership.

       25.     To generate these forecasts, the committee solicited budgets from each of the four

national team’s managers and coaches, and from each of the Debtor’s departments. It compared
these proposed budgets to the Debtor’s historical data, and modeled future scenarios predicated on

differing assumptions concerning the resumption of play.

       26.      The modeling was elaborate and was designed to reflect the dues structures’

associated revenue streams in light of Covid’s complications. It was also designed to account for

non-Covid conditions confronting the Debtor. Most notably, the National Collegiate Rugby

Organization (“NCRO”) is repositioning itself as a competitor. The Debtor is prepared for the

competition and understands that NCRO’s repositioning may result in a decline in membership.

Accordingly, in an effort to remain conservative given the uncertain terrain, the modeling assumed

that none of NCRO’s estimated 10,000 members would pay dues to the Debtor.                   Similar

conservative assumptions were embedded throughout the modeling process.

       27.      In any event, the model is predictive, and it allowed the Debtor to test alternative

dues regimes in an attempt to maximize current revenue streams despite the break in play. Using

this model, the Debtor developed a new dues structure allowing for a limited membership

providing insurance for training activities. By testing rate sets for this offering via a sensitivity

analysis, the Debtor predicts this new rate structure will recapture much of its otherwise Covid-

induced revenue losses.

       28.      These analyses inform predictions annexed to the Plan, and based on these

predictions, I believe that the Debtor can reorganize and can sustain the Plan’s cash flow

requirements.

                                           Assumed Contracts

       29.      With respect to the contracts to be assumed per Schedule 2.4, I have reviewed the

Debtor’s books and records and I believe that none require any cure payment, as all are current as

of the date of this affidavit. The decision as to which contracts to assume, or correspondingly
reject, was made after an exhaustive review of the Debtor’s operations and was based on, what I

believe to be, the Debtor’s sound business judgment.

                                        The Liquidation Analysis

       30.     It is my understanding that a chapter 11 plan cannot be confirmed unless a

bankruptcy court determines that the plan is in the “best interests” of all holders of claims and

interests that are impaired by the plan and that have not accepted the plan. I further understand that

the “best interests” test, as set forth in section 1129(a)(7) of the Bankruptcy Code, requires that a

bankruptcy court find either that (a) all members of an impaired class of claims or interests have

accepted the plan or (b) the plan will provide a member of an impaired class of claims or interests

who has not accepted the plan with a recovery of property of a value, as of the effective date of

the plan, that is not less than the amount that such holder would recover if the debtor were

liquidated under chapter 7 of the Bankruptcy Code on such date, prior to confirming the plan. 7.

       31.     I played a prominent role in the preparation of the Debtor’s liquidation analysis (the

“Liquidation Analysis”), which was filed as Schedule 4 to the Plan, and which estimates potential

cash distributions to holders of Allowed Claims in a hypothetical chapter 7 liquidation of the

Debtor’s assets.

       32.     The Liquidation Analysis assumes a conversion of the Chapter 11 Case to a chapter

7 liquidation case on or about August 31, 2020 (the “Conversion Date”). It assumes that, on the

Conversion Date, the Bankruptcy Court would appoint a chapter 7 trustee (“Trustee”) to oversee

the liquidation of the Debtor’s Estates.2




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 Any liquidation analysis is speculative, as it is necessarily premised on assumptions and
estimates, which are inherently subject to significant uncertainties and contingencies, many of
which would be beyond the control of the Debtor.
